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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

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CRYSTALLEX INTERNATIONAL                                     :
CORPORATION,                                                 :
                                                             :
                  Plaintiff,                                 :
                                                             :
         v.                                                  :        Misc. No. 17-151-LPS
                                                             :
BOLIVARIAN REPUBLIC OF                                       :
VENEZUELA,                                                   :
                                                             :
                  Defendant.                                 :
                                                             :
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                  SPECIAL MASTER’S RESPONSE TO OPENING BRIEFS
              IN RESPONSE TO THE COURT’S ORDER DATED MAY 10, 2023

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Dated: June 7, 2023
10858544
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       I, Robert B. Pincus, solely in my capacity as special master (the “Special Master”) for the

United States District Court for the District of Delaware (the “Court”) in Crystallex International

Corp. v. Bolivarian Republic of Venezuela (D. Del. Case. No. 17-151-LPS) (the “Crystallex

Case”), hereby submit this response to the opening briefs filed pursuant to the Court’s order of

May 10, 2023 (D.I. 559) (“May 10 Order”).

                                     Preliminary Statement

       1.      The Court appointed the Special Master to, among other things, devise a plan for

the sale of the PDVH Shares as necessary to satisfy the outstanding judgment of Crystallex1 and

the judgment of any other judgment creditor added to the sale by the Court and/or devise such

other transaction as would satisfy such outstanding judgment(s) while maximizing the sale price

of any assets to be sold. See D.I. 277 ¶ 2. With that mandate, the Special Master sought to design

a process with the flexibility to accommodate the developing nature of the parallel cases being

pursued by other creditors seeking judgments against the Venezuela Parties and to attract interest

from potential bidders willing to purchase some or all of the PDVH Shares. There is no immediate

need to adjust the already-approved sale process outlined in the Sale Procedures Order to

accommodate potential inclusion of other judgments.

       2.      If any other judgments are deemed by the Court to be Additional Judgments within

the timeframe provided under the Sale Procedures Order (i.e., by no later than ten calendar days

after the Launch Date), the Special Master sees no reason why those judgments should not be

considered for satisfaction in connection with a Sale Transaction. Outside of a general support for


1
  Capitalized terms used but not otherwise defined herein shall bear the meanings ascribed to such
terms by the Sixth Revised Proposed Order (A) Establishing Sale and Bidding Procedures, (B)
Approving Special Master’s Report and Recommendation Regarding Proposed Sale Procedures
Order, (C) Affirming Retention of Evercore as Investment Banker by Special Master and (D)
Regarding Related Matters (the “Sale Procedures Order”) entered in Crystallex Int’l Corp. v.
Bolivarian Republic of Venezuela, 1:17-mc-151-LPS (D. Del. Oct. 11, 2022) (D.I. 481).
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the notion that, in the name of judicial economy, the Court and the Special Master should endeavor

to include in a Sale Transaction as many judgments against the Venezuela Parties as possible in a

manner that does not cause any further delay to the Crystallex Case, the Special Master takes no

position with respect to the individual creditors or the merits of the arguments for or against the

unconditional attachment of their judgments or the relative priority among them.

       3.      While the Special Master does not offer any objection or support to the inclusion

of any particular judgment creditor on any legal basis, the Special Master submits that as a

condition to becoming an Additional Judgment Creditor, any holder must be willing and able to

meet their obligations under the Sale Procedures Order, including paying their fair share of the

Transaction Expenses on both a retroactive and going-forward basis as contemplated by the Sale

Procedures Order. To the extent petitioning judgment creditors are not prepared to meet those

obligations—and state as much on the record—the Special Master objects to their participation in

the Sale Transaction.

                                           Argument

            A. Which, if any, judgments should be regarded as “Additional Judgments”
               under the Sale Procedures Order entered in the Crystallex Case?

       4.      The Sale Procedures Order provides that “the Court will decide in accordance with

applicable law which, if any, additional judgments … are to be considered by the Special Master

for purposes of the Sale Transaction.” Sale Procedures Order ¶ 30. Interpretation of applicable

law and advocacy for or against inclusion of any judgment, however, is outside the scope of the

Special Master’s mandate. Accordingly, the Special Master takes no position as to the inclusion




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of any Additional Judgments and, by extension, whether any holders of judgments are entitled to

share in the proceeds of the sale of the PDVH Shares.

       5.      That being said, although it is up to the Court to determine whether the Special

Master should consider any additional judgments, to the extent the Special Master has expended

significant time and effort to design and administer a sale process, it seems both logical and in the

best interests of all parties to include as many judgments against the Venezuela Parties as

permissible under applicable law and without causing any delay to the launch timeline proposed

by the Special Master.

       6.      Further, the Special Master stands ready to begin preparations for the Marketing

Process. Importantly, the success of this preparatory phase does not turn on the resolution of any

of the questions currently pending before this Court. As detailed in the Special Master’s Reply to

the Venezuela Parties’ Objections to the Supplemental Report, preparation of the CIM and

solicitation of bids will not be impacted by the pool of Attached Judgments. See D.I. 583 at 7.

The answers to the Court’s current questions do not become relevant until well after the Launch

Date. Therefore, the Special Master submits that there should be no further delay in the preparation

for or launch of the Marketing Process.

       7.      While the Special Master does not take a position as to the questions raised in the

May 10 Order, to the extent any purported judgment creditor desires to be qualified as an

Additional Judgment Creditor, it must be prepared to meet all applicable obligations under the Sale

Procedures Order.     Specifically, and without exclusion to any other provision of the Sale

Procedures Order, all Additional Judgment Creditors are required to share in the reimbursement

of Transaction Expenses.      See Sale Procedures Order ¶ 47 (“The Special Master shall be

compensated and reimbursed for all expenses [] on a monthly basis by the Sale Process Parties




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pursuant to the procedures set forth in the May Order [], which Transaction Expenses shall be

shared by the Sale Process Parties and any Additional Judgment Creditors. . . ”). For the avoidance

of doubt, that reimbursement obligation applies not only to Transaction Expenses from and after

the designation of such creditor as an Additional Judgment Creditor, but also on a retroactive basis.

See id. (“[A]ny Additional Judgment Creditor shall be obligated to reimburse its share of the

Transaction Expenses [] as if such Additional Judgment Creditor was a Sale Process Party…”);

D.I. 507 at 5 (“[T]he Court agrees with Crystallex [] and the Venezuela Parties [] that if Red Tree

were to be added as a new Sale Process Party, it would be equitable for the Court to require Red

Tree to pay an equal, per capita share of the Special Master’s fees and expenses, to include those

incurred to date and all those going forward.”).

        8.      As of the date hereof, the Court has approved Transaction Expenses in an amount

equal to $4,395,965.69.2 Any Additional Judgment Creditor will be required to reimburse the Sale

Process Parties for their respective reimbursement of Transaction Expenses to date and to share in

any future Transaction Expenses pursuant to the May Order and the Sale Procedures Order, in each

case on a per capita basis (i.e., an equal share, not a pro rata share).

        9.      In any event, so long as prospective Additional Judgment Creditors are prepared to

shoulder their share of the Transaction Expenses, the Special Master has no objection to their

consideration as part of the Sale Transaction.




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  See D.I. 282, 295, 324, 361, 394, 415, 428, 439, 453, 467, 478, 520, and 539. The Special Master
notes that should this Court approve the advisor fees requested in the Special Master’s report for
the period ending April 30, 2023 [D.I. 579], the total Transaction Expenses through April 30, 2023
will be $5,696,186.64.


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             B. Should the Court issue full, unconditional orders of attachment (including by
                converting conditional grants) to any creditors? If yes, should the Court direct
                service of any such orders of attachment?

       10.      The Special Master takes no position as to whether or how any circumstances,

including the delivery of the April 7 DOJ Letter and public issuance of guidance by OFAC, may

affect judgments held by creditors of the Venezuela Parties seeking to become Additional

Judgment Creditors pursuant to the Sale Procedures Order. Similar to Crystallex, though, the

Special Master supports advancement of the Marketing Process without any delay to accommodate

ancillary attachment proceedings. See D.I. 573 at 13. To the extent the Court determines any

judgment—conditional or not—qualifies as an Additional Judgment as of the Additional Judgment

Deadline, the Special Master will consider that judgment in his administration of the Marketing

Process and any ultimate Sale Transaction.

             C. How should the Court determine the priority of any judgments that are made
                Additional Judgments?

       11.      The Special Master takes no position as to the determination of priority among any

Additional Judgements. If the sale of the PDVH Shares pursuant to a Sale Transaction generates

sufficient proceeds such that any Additional Judgments are entitled to a recovery from those

proceeds, the Special Master will arrange the distribution of those proceeds in accordance with the

Sale Procedures Order and any subsequent orders of the Court.

                                           Conclusion

       For the reasons set forth above, the Special Master respectfully requests that this Court

proceed with a single sale process and without further delay.

                                             /s/ Robert B. Pincus
                                             Robert B. Pincus
                                             Special Master for the United States District Court
                                             for the District of Delaware
Dated: June 7, 2023
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